                                                                                       Case 4:07-cv-05944-JST Document 2198 Filed 11/06/13 Page 1 of 5



                                                                               1   Robert W. Turken
                                                                                   Scott N. Wagner
                                                                               2   Mitchell E. Widom
                                                                                   BILZIN SUMBERG BAENA PRICE &
                                                                               3
                                                                                   AXELROD LLP
                                                                               4   1450 Brickell Avenue, Suite 2300
                                                                                   Miami, Florida 33131-3456
                                                                               5   Telephone:    305-374-7580
                                                                                   Facsimile:    305-374-7593
                                                                               6   E-mail:       rturken@bilzin.com; swagner@bilzin.com;
                                                                               7                 mwidom@bilzin.com

                                                                               8   Stuart H. Singer
                                                                                   BOIES, SCHILLER, & FLEXNER LLP
                                                                               9   401 East Las Olas Boulevard, Suite 1200
                                                                                   Fort Lauderdale, Florida 33301
                                                                              10   Telephone:     (954) 356-0011
                                                                              11   Facsimile:     (954) 356-0022
Bilzin Sumberg Baena Price & Axelrod LLP




                                                                                   E-mail:        ssinger@bsfllp.com
                                           1450 Brickell Avenue, Suite 2300




                                                                              12
                                                                                   Counsel for Plaintiffs Tech Data Corporation
                                               Miami, FL 33131-3456




                                                                              13   and Tech Data Product Management, Inc.

                                                                              14                              UNITED STATES DISTRICT COURT
                                                                                                            NORTHERN DISTRICT OF CALIFORNIA
                                                                              15                                (SAN FRANCISCO DIVISION)
                                                                              16    In re: CATHODE RAY TUBE (CRT)                 Master File No. 07-5944 SC (N.D. Cal.)
                                                                              17    ANTITRUST LITIGATION
                                                                                                                                  MDL No. 1917
                                                                              18    __________________________________
                                                                                    This Document Relates to Individual Case      DECLARATION OF SCOTT N. WAGNER
                                                                              19    No. 13-CV-00157-SC                            IN SUPPORT OF PLAINTIFFS TECH
                                                                                                                                  DATA CORPORATION AND TECH DATA
                                                                              20
                                                                                    TECH DATA CORPORATION; TECH                   PRODUCT MANAGEMENT, INC.’S
                                                                              21    DATA PRODUCT MANAGEMENT,                      OPPOSITION TO DEFENDANTS’ JOINT
                                                                                    INC.,                                         MOTION TO DISMISS CERTAIN DIRECT
                                                                              22                                                  ACTION PLAINTIFFS’ CLAIMS
                                                                                                   Plaintiffs,
                                                                              23            vs.
                                                                              24    HITACHI, LTD; et al.
                                                                              25
                                                                                                   Defendants.
                                                                              26
                                                                              27

                                                                              28
                                                                                   WAGNER DECLARATION IN SUPPORT OF TECH                         MASTER FILE NO. 3:07-MD-01827 SI (N.D. CAL.)
                                                                                   DATA'S OPPOSITION TO DEFENDANTS’ JOINT                             INDIVIDUAL CASE NO. 13-CV-00157-SC
                                                                                   MOTION TO DISMISS
                                                                                       Case 4:07-cv-05944-JST Document 2198 Filed 11/06/13 Page 2 of 5



                                                                               1   I, SCOTT N. WAGNER, declare as follows:

                                                                               2          1.      I am a partner at the law firm of Bilzin Sumberg Baena Price & Axelrod LLP,

                                                                               3   counsel for Plaintiffs Tech Data Corporation and Tech Data Product Management, Inc. (“Tech

                                                                               4   Data”), and am licensed to practice law in the State of Florida and admitted to practice pro hac

                                                                               5   vice before this Court. Except for those matters stated on information and belief, which I

                                                                               6   believe to be true, I have personal knowledge of the facts stated herein, and, if called as a

                                                                               7   witness, I could and would competently testify thereto.

                                                                               8          2.      Attached hereto as Exhibit 1 is a true and correct copy of the Complaint titled

                                                                               9   Office Depot, Inc. v. Hitachi, Ltd., et al., Case No. 3:11-cv-06276-SC (N.D. Cal.).

                                                                              10          3.      Attached hereto as Exhibit 2 is a true and correct copy of the Complaint titled

                                                                              11   Siegel v. Hitachi, Ltd., et al., Case No. 3:11-cv-05502-SC (N.D. Cal.).
Bilzin Sumberg Baena Price & Axelrod LLP
                                           1450 Brickell Avenue, Suite 2300




                                                                              12          4.      Attached hereto as Exhibit 3 is a true and correct copy of the Complaint titled
                                               Miami, FL 33131-3456




                                                                              13   Target Corp. v. Chunghwa Picture Tubes, Ltd., et. al,. Case No. 3:11-cv-05514-SC (N.D. Cal.).

                                                                              14          5.      Attached hereto as Exhibit 4 is a true and correct copy of the Complaint titled

                                                                              15   Costco Wholesale Corp. v. Hitachi, Ltd., et al., Case No. 3:11-cv-06397-SC (N.D. Cal.).

                                                                              16          6.      Attached hereto as Exhibit 5 is a true and correct copy of the Complaint titled

                                                                              17   Best Buy Co., Inc. v. Hitachi, Ltd., et al., Case No. 3:11-cv-05513-SC (N.D. Cal.).

                                                                              18          7.      Attached hereto as Exhibit 6 is a true and correct copy of the Complaint titled

                                                                              19   Crago, Inc. v. Chunghwa Picture Tubes, Ltd., et. al., 3:07-cv-5944-SC (N.D. Cal.).

                                                                              20          8.      Attached hereto as Exhibit 7 is a true and correct copy of the Complaint titled

                                                                              21   Art’s TV & Appliance v. Chunghwa Picture Tubes, Ltd., et. al., Case No. 3:07-cv-06416-SC

                                                                              22   (N.D. Cal.).

                                                                              23          9.      Attached hereto as Exhibit 8 is a true and correct copy of the Complaint titled

                                                                              24   Hawel A. Hawel d/b/a City Electronics v. Chunghwa Picture Tubes, Ltd., et. al., Case No. 3:07-

                                                                              25   cv-06279-SC (N.D. Cal.).

                                                                              26          10.     Attached hereto as Exhibit 9 is a true and correct copy of the Complaint titled

                                                                              27   State of Florida v. LG Electronics, Inc., et al, Case No. 3:11-cv-06205-SC (N.D. Cal.).

                                                                              28
                                                                                   WAGNER DECLARATION IN SUPPORT OF TECH          2                MASTER FILE NO. 3:07-MD-01827 SI (N.D. CAL.)
                                                                                   DATA'S OPPOSITION TO DEFENDANTS’ JOINT                               INDIVIDUAL CASE NO. 13-CV-00157-SC
                                                                                   MOTION TO DISMISS
                                                                                       Case 4:07-cv-05944-JST Document 2198 Filed 11/06/13 Page 3 of 5



                                                                               1          11.     Attached hereto as Exhibit 10 is a true and correct copy of the Complaint titled

                                                                               2   Gonzalez v. Chunghwa Picture Tubes, Ltd., et. al., Case No. 3:08-cv-01108-SC (N.D. Cal.).

                                                                               3          I declare under penalty of perjury that the foregoing is true and correct.

                                                                               4          Executed this 6th day of November, 2013, at Miami, FL.

                                                                               5
                                                                                                                                 /s/ Scott N. Wagner                               .
                                                                               6                                                 Scott N. Wagner
                                                                               7

                                                                               8

                                                                               9

                                                                              10

                                                                              11
Bilzin Sumberg Baena Price & Axelrod LLP
                                           1450 Brickell Avenue, Suite 2300




                                                                              12
                                               Miami, FL 33131-3456




                                                                              13

                                                                              14

                                                                              15

                                                                              16

                                                                              17

                                                                              18
                                                                              19

                                                                              20

                                                                              21

                                                                              22

                                                                              23

                                                                              24

                                                                              25

                                                                              26
                                                                              27

                                                                              28
                                                                                   WAGNER DECLARATION IN SUPPORT OF TECH           3                MASTER FILE NO. 3:07-MD-01827 SI (N.D. CAL.)
                                                                                   DATA'S OPPOSITION TO DEFENDANTS’ JOINT                                INDIVIDUAL CASE NO. 13-CV-00157-SC
                                                                                   MOTION TO DISMISS
                                                                                       Case 4:07-cv-05944-JST Document 2198 Filed 11/06/13 Page 4 of 5



                                                                               1          Dated: November 6, 2013

                                                                               2                                            Respectfully Submitted,
                                                                               3
                                                                                                                              /s/Scott N. Wagner
                                                                               4                                            ROBERT W. TURKEN
                                                                                                                            SCOTT N. WAGNER
                                                                               5                                            MITCHELL E. WIDOM
                                                                                                                            BILZIN SUMBERG BAENA PRICE &
                                                                               6                                            AXELROD LLP
                                                                               7                                            1450 Brickell Ave., Suite 2300
                                                                                                                            Miami, Florida 33131-3456
                                                                               8                                            Telephone: (305) 374-7580
                                                                                                                            Facsimile: (305) 374-7593
                                                                               9                                            E-mail:        rturken@bilzin.com
                                                                                                                                           swagner@bilzin.com
                                                                              10                                                           mwidom@bilzin.com
                                                                              11
Bilzin Sumberg Baena Price & Axelrod LLP




                                                                                                                            STUART H. SINGER
                                           1450 Brickell Avenue, Suite 2300




                                                                              12                                            BOIES, SCHILLER, & FLEXNER LLP
                                               Miami, FL 33131-3456




                                                                                                                            401 East Las Olas Boulevard, Suite 1200
                                                                              13                                            Fort Lauderdale, Florida 33301
                                                                                                                            Telephone: (954) 356-0011
                                                                              14
                                                                                                                            Facsimile: (954) 356-0022
                                                                              15                                            E-mail:        ssinger@bsfllp.com

                                                                              16                                            WILLIAM A. ISAACSON
                                                                                                                            MELISSA WILLETT
                                                                              17                                            BOIES, SCHILLER & FLEXNER
                                                                                                                            5301 Wisconsin Ave. NW, Suite 800
                                                                              18
                                                                                                                            Washington, DC 20015
                                                                              19                                            Telephone: (202) 237-2727
                                                                                                                            Facsimile: (202) 237-6131
                                                                              20                                            E-mail:       wisaacson@bsfllp.com
                                                                                                                                          mwillett@bsfllp.com
                                                                              21
                                                                                                                            PHILIP J. IOVIENO
                                                                              22
                                                                                                                            BOIES, SCHILLER & FLEXNER
                                                                              23                                            30 South Pearl Street, 11th Floor
                                                                                                                            Albany, NY 12207
                                                                              24                                            Telephone: (518) 434-0600
                                                                                                                            Facsimile: (518) 434-0665
                                                                              25                                            E-mail:       piovieno@bsfllp.com
                                                                              26
                                                                                                                            Counsel for Plaintiffs Tech
                                                                              27                                            Data Corporation and Tech Data Product
                                                                                                                            Management, Inc.
                                                                              28
                                                                                   WAGNER DECLARATION IN SUPPORT OF TECH     4                MASTER FILE NO. 3:07-MD-01827 SI (N.D. CAL.)
                                                                                   DATA'S OPPOSITION TO DEFENDANTS’ JOINT                          INDIVIDUAL CASE NO. 13-CV-00157-SC
                                                                                   MOTION TO DISMISS
                                                                                       Case 4:07-cv-05944-JST Document 2198 Filed 11/06/13 Page 5 of 5



                                                                               1                                   CERTIFICATE OF SERVICE

                                                                               2          The undersigned counsel hereby certifies that a true and correct copy of the foregoing

                                                                               3   document was electronically served upon the parties and counsel of record through the Court's

                                                                               4   ECF system on November 6, 2013.

                                                                               5                                                       /s/Scott N. Wagner
                                                                                                                                       Scott N. Wagner
                                                                               6                                                       Attorney for Plaintiffs
                                                                                                                                       Tech Data Corporation and
                                                                               7
                                                                                                                                       Tech Data Product Management, Inc.
                                                                               8

                                                                               9

                                                                              10

                                                                              11
Bilzin Sumberg Baena Price & Axelrod LLP
                                           1450 Brickell Avenue, Suite 2300




                                                                              12
                                               Miami, FL 33131-3456




                                                                              13

                                                                              14

                                                                              15

                                                                              16

                                                                              17

                                                                              18
                                                                              19

                                                                              20

                                                                              21

                                                                              22

                                                                              23

                                                                              24

                                                                              25

                                                                              26
                                                                              27

                                                                              28
                                                                                   WAGNER DECLARATION IN SUPPORT OF TECH               5          MASTER FILE NO. 3:07-MD-01827 SI (N.D. CAL.)
                                                                                   DATA'S OPPOSITION TO DEFENDANTS’ JOINT                              INDIVIDUAL CASE NO. 13-CV-00157-SC
                                                                                   MOTION TO DISMISS
